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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 VOTE FORWARD, et al.


                    Plaintiffs,

        v.                                         Civil Docket No. 20-cv-2405 (EGS)

 LOUIS DEJOY, et al.,


                    Defendants.


                                            NOTICE

       Pursuant to paragraph 3 of the Court’s October 27, 2020 Order, Defendants provide the

Court with reports produced today to the U.S. District Courts for the Eastern District of

Pennsylvania (Exhibit 1) and the Southern District of New York (Exhibit 2).


Dated: October 30, 2020             Respectfully submitted,

                                    JEFFREY BOSSERT CLARK
                                    Acting Assistant Attorney General

                                    ERIC R. WOMACK
                                    Assistant Director, Federal Programs Branch

                                    /s/ John Robinson
                                    JOSEPH E. BORSON
                                    KUNTAL CHOLERA
                                    ALEXIS ECHOLS
                                    DENA M. ROTH
                                    JOHN ROBINSON (D.C. Bar No. 1044072)
                                    Trial Attorneys
                                    U.S. Department of Justice
                                    Civil Division, Federal Programs Branch
                                    1100 L. Street, NW
                                    Washington D.C. 20005
                                    (202) 616-8489
                                    john.j.robinson@usdoj.gov

                                    Attorneys for Defendants
